AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                          ____ FILED ___ ENTERED
                                     UNITED STATES DISTRICT COURT                                         ____ LOGGED _____ RECEIVED

                                                               for the                                   11:48 am, Sep 02 2021
                                                     DistrictDistrict
                                                __________    of Maryland
                                                                      of __________                       AT BALTIMORE
                                                                                                          CLERK, U.S. DISTRICT COURT
                                                                                                          DISTRICT OF MARYLAND
                  United States of America                        )                                       BY ______________Deputy
                             v.                                   )
                                                                  )      Case No.      1:21-mj-2505 TMD
                                                                  )
                       MARCEL HALL                                )
                                                                  )
                                                                  )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                September 1, 2021              in the county of              Baltimore              in the
                       District of          Maryland          , the defendant(s) violated:

            Code Section                                                    Offense Description
Title 21, United States Code,                 Possession with the intent to distribute controlled substances
Section 841(a)(1)




         This criminal complaint is based on these facts:
See attached affidavit.




         ✔ Continued on the attached sheet.
         ’


                                                                                             Complainant’s signature

                                                                                    Brendan Grace, Special Agent, DEA
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                Judge’s signature

City and state:                      Baltimore, Maryland                   Hon. Thomas M. DiGirolamo, U.S. Magistrate Judge
                                                                                              Printed name and title
